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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. _______________________

  WATTUM MANAGEMENT, INC.,

          Plaintiff,

  v.

  CHENGDU CHENXIYU TECHNOLOGY
  CO., LTD. a/k/a CHENGDUCHENXIYU
  TECHNOLOGY CO., LTD, DENG JIE,
  BAO CARL SHICUN and John Does 1-10

          Defendants,

  and

  OKX a/k/a OKEx; and
  Binance Holdings Ltd. a/k/a
  Binance

          Nominal Defendants.
                                              /

                                    VERIFIED COMPLAINT

          Plaintiff, Wattum Management, Inc. (“Wattum”), files this Verified Complaint against

  Defendants, Chengdu Chenxiyu Technology Co., Ltd. a/k/a Chengduchenxiyu Technology Co.,

  Ltd. (“Chengdu”), Deng Jie (“Jay”), and Bao Carl Shicun (“Carl”) (Chengdu, Jay and Carl

  collectively referred to as “Defendants”), and Nominal Defendants OKX and Binance Holdings

  Ltd. a/k/a Binance (“Binance”). In support hereof, Wattum alleges as follows:

                                            PARTIES

          1.      Wattum is a Wyoming Corporation with a principal place of business located at

  2980 NE 207th St., Suite 705 Aventura, FL 33180.




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          2.    Chengdu is a Chinese Corporation with a principal place of business located at

  Wanda B1 Office Building, Honggutan District, Nanchang City, Jiangxi Province, China.

          3.    Jay is an individual who, upon information and belief, owns Chengdu and has a

  residential address of 525, Guangzhou Road, Qingyunpu District, Nanchang City, Jiangxi

  Province, China.

          4.    Carl is an individual with a residential address of Hang Yin Road Street, Apt. 5-1-

  1302 Hangzhou, Zhejiang Province, Yunhe Chenyuan community 31000, China.

          5.    OKX, also known as, or formerly known as, OKEx is a nominal defendant and a

  global cryptocurrency exchange with a headquarters located at Victoria, Suite 202, 2nd Floor,

  Eden Plaza, Seychelles.

          6.    Binance is a nominal defendant and a global cryptocurrency exchange with a

  headquarters located at George Town, 23 Lime Tree Bay Ave, Cayman Islands.

          7.    OKX and Binance (“Nominal Defendants”) have been named as nominal

  defendants in this action because they maintain possession, custody and control over the virtual

  wallets in which the funds that Defendants converted are located.

          8.    Wattum seeks an Order authorizing and directing Nominal Defendants to release

  the funds misappropriated by Defendants from Wattum which Nominal Defendants currently

  holding pending receipt of a Court Order.

          9.    The John Doe Defendants are persons or entities that materially aided and abetted

  in the unlawful conduct complained of herein and whose names and identities are currently

  unknown to Wattum.




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                                   JURISDICTION AND VENUE

          10.    This Court has original jurisdiction over this matter because it is between citizens

  of Florida and citizens or subjects of a foreign state and the amount in controversy exceeds the

  sum or value of $75,000 exclusive of interests or costs. See 28 U.S.C. § 1332.

          11.    Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in the Southern District of

  Florida, Miami Division, because a substantial part of the events or omissions giving rise to the

  claims occurred in this judicial division.

                                    FACTUAL BACKGROUND

  A.      BACKGROUND

          12.    Wattum is a distributor of cryptocurrency mining equipment or “miners”.

          13.    Miners are Application Specific Integrated Circuit (“ASIC”) computers whose

  computing power solves or validates blocks on the blockchain.

          14.    When miners successfully complete a task, they earn “rewards”, expressed in

  fractional interests in Bitcoin, a cryptocurrency.

          15.    It is widely known that there is a limited supply of Bitcoin that can ever exist.

          16.    Currently, approximately 19 million Bitcoins have been mined and are in

  circulation leaving approximately 2 million left to be mined.

          17.    There are several leading manufacturers of ASICs.

          18.    This action pertains to ASICs manufactured by Bitmain Technologies, Ltd.,

  (“Bitmain”), a leading cryptocurrency miner manufacturer headquartered in China with offices

  and repair facilities throughout the world including the United States.

          19.    Bitmain cryptocurrency miners come in different models and the speed and

  efficiency of said miners is measured in hashrate.




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          20.    Increased hashrate (computing speed) and efficiency (power consumption) are key

  economic considerations in the crypto-mining industry.

          21.    Bitmain cryptocurrency miners are highly regarded in the industry for their

  capabilities and there is a high demand for the latest and best Bitmain miners resulting in

  significant lead times.

  B.      FAMCO ORDER AND PURCHASE

          22.    On or about May 8, 2023, First Argentine Mining Company (“FAMCO”) ordered

  635 Bitmain Antiminer S19J Pro+ 122 TH miners from Wattum (the “FAMCO Order”). See,

  Exhibit “A”.

          23.    In connection with the FAMCO Order, FAMCO advanced approximately

  $949,963.00 to Wattum.

          24.    Between May 8, 2023 and May 15, 2023, Wattum received quotes, proposals and

  assurances from Chengdu and its representative, Jay.

          25.    At all times relevant hereto, Carl was a broker and/or agent who was involved in

  the interactions between Chengdu and Wattum.

          26.    At all times relevant hereto, Jay was an employee, representative and/or agent

  (actual and/or ostensible) of Chengdu with requisite authority to act.

          27.    By invoice dated May 15, 2023 (the “Purchase Agreement”), Chengdu agreed to

  sell and deliver 650 BITMAIN Antminer s19pro+ 120TH ASIC miners (the “Units”) to Wattum

  for a purchase price of $904,800.00. A true and correct copy of the Purchase Agreement is attached

  as Exhibit “B”.

          28.    Pursuant to the Purchase Agreement, the Units had an Estimated Time of Arrival

  of June 2023 “subject to Antiminer manufacturer’s delivery time.” Id.




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          29.      Pursuant to the Purchase Agreement, Wattum paid Chengdu $904.800.00 in four

  (4) installments:

                a. Wattum paid a 35% down payment in the amount of $316,680 divided into two
                   separate payments: one test payment of $100 on May 12, 2023 and the second
                   payment of $316,580 on May 13, 2023 (the “First Tranche”).

                b. On June 16, 2023, Wattum paid Chengdu an additional $266,000 in three separate
                   payments in the amounts of $1,000, $82,000, and $183,000 (the “Second
                   Tranche”).

                c. On June 21, 2023, Wattum paid Chengdu another $110,000 (the “Third Tranche”).

                d. Lastly, on June 22, 2023, Wattum paid Chengdu $212,120 (the “Fourth Tranche”).

          30.      Wattum’s payments were made using the digital currencies Tether USD and USD

  Coin.

          31.      Pursuant to Chengdu’s instructions, Wattum paid the First Tranche to digital wallet

  ID: 0xa087633d71631b77c1c81a64d9f47a22f4999959 (the “9959 Wallet”).

          32.      The 9959 Wallet was housed on Binance, a prominent cryptocurrency exchange.

          33.      Chengdu received the First Tranche.

          34.      Pursuant to Chengdu’s instructions, Wattum paid the Second Tranche, Third

  Tranche and Fourth Tranche to digital wallet ID: 0x0a7f2fe49b2f71c740f424ef510aa27a1c03c7dd

  (the “C7DD Wallet”). The C7DD Wallet is housed on OKX, another prominent cryptocurrency

  exchange.

          35.      Chengdu received the Second, Third and Fourth Tranches.

          36.      Despite Wattum’s payment of the purchase price, the Units were never made

  available for Wattum to pick up.

          37.      Immediately after June 22, 2023, Chengdu and Jay (and except as set forth herein)

  terminated all communications with Wattum.




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          38.    On June 28, 2023, Carl informed Wattum that the Units were never made available

  for pickup and that Jay ceased communicating with him after receiving the final payment.

          39.    Defendants delivered no Units to Wattum in June 2023 or anytime thereafter.

  C.      WATTUM LAUNCHES FRAUD INVESTIGATION

          40.    Wattum made multiple attempts to contact Chengdu and obtain the Units or a full

  refund of the purchase price, without success.

          41.    After not receiving a satisfactory response and having been informed by Carl that

  Jay had ceased all communications with him after receiving the final payment, Wattum promptly

  launched a fraud investigation.

          42.    On June 29, 2023, Wattum filed a Police Report with the Aventura Police

  Department. See, Exhibit “C”.

          43.    On July 3, 2023, Wattum reported the events in question to the Internet Crime

  Complaint Center (“IC3”).

          44.    IC3 is an Internet and cybercrime reporting mechanism established by the

  Department of Homeland Security (“DHS”) and run by the Federal Bureau of Investigation

  (“FBI”). See, www.ic3.gov (last accessed March 14, 2024).

          45.    Furthermore, Wattum engaged private forensic cybersecurity professionals with

  expertise in tracing the movement of cryptocurrency across the blockchain.

  D.      TRACING SECOND, THIRD AND FOURTH TRANCHES

          46.    As noted, pursuant to Defendants’ instructions, Wattum paid the Second, Third and

  Fourth Tranche into the C7DD Wallet controlled by Defendants.

          47.    Through investigative sources and methods, including collaboration with law

  enforcement, Wattum determined that almost immediately upon receipt, Defendants (i) converted




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  Wattum’s funds from USDC stablecoin to Etherium; (ii) withdrew Wattum’s funds in the form of

  Etherium from the C7DD Wallet; and (iii) transferred and dispersed said funds to the following

  cryptocurrency wallet, hereinafter referred as the (“1EF2 Wallet”).




          48.    Defendants transfer of Wattum’s funds from the C7DD Wallet to the 1EF2 Wallet

  was accomplished through the following four (4) transactions undertaken between June 16, 2023

  and June 22, 2023:




          49.    The amount transferred by Wattum to Defendants into the C7DD Wallet was

  $588,120.00.

          50.    The amount transferred by Defendants from the C7DD Wallet and into the 1EF2

  Wallet was $588,120.00.




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          51.    Through investigative sources and methods, including collaboration with law

  enforcement, Wattum determined that the C7DD Wallet was housed and/or hosted by Nominal

  Defendant OKX on the OKX exchange.

          52.    Nominal Defendant OKX is a global cryptocurrency spot and derivatives exchange

  and is the second biggest crypto exchange by trading volume, serving over 50 million people.

          53.    The OKX exchange or platform permits cryptocurrency investors to buy and sell

  Bitcoin, Ethereum and other forms of cryptocurrency.

          54.    Upon information and belief, OKX has over 2,000 employees worldwide.

          55.    The OKX exchange is the cryptocurrency equivalent of a bank.

          56.    A wallet is the cryptocurrency equivalent of a bank account.

          57.    In connection with its investigation and through collaboration with law

  enforcement, Wattum reported the suspected fraud to OKX.

          58.    On or about July 7, 2023, OKX took action to freeze the C7DD Wallet and

  confirmed further efforts to convert, disguise and dissipate funds to at least three (3) other wallets

  as follows:




          59.    In response to action by Wattum and upon its internal investigation, OKX elected

  to freeze the C7DD Wallet, the wallets referenced in the aforementioned email of July 7, 2023 and


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  Defendants’ other wallets on the OKX exchange including, without limitation, the following wallet

  (hereinafter referred to as the “2482 Wallet”).




          60.       Furthermore, OKX took action to consolidate funds frozen in the C7DD Wallet, the

  wallets referenced in the aforementioned email of July 7, 2023 and Defendants’ other wallets

  including the 2482 Wallet into the following custodial account/wallet (the “OKX Custodial

  Wallet”) safeguarded by OKX:




          61.       The OKX Custodial Wallet contains funds that belong to Wattum.

          62.       OKX is prepared to release Wattum’s funds in the OKX Wallet but requires a valid

  order of court.

  E.      TRACING THE FIRST TRANCHE

          63.       As noted, pursuant to Defendants’ instructions, Wattum paid the First Tranche into

  the 9959 Wallet controlled by Defendants.

          64.       The amount of the First Tranche was $316,680.00.

          65.       The 9959 Wallet was housed on the Binance Exchange.

          66.       The Binance Exchange is operated by Binance Holdings, Ltd. and is reportedly the

  largest cryptocurrency exchange in the world with estimated annual revenue of $12 billion dollars

  and over 7,000 employees.

          67.       Through investigative sources and methods, including collaboration with law

  enforcement, Wattum determined that almost immediately upon receipt of the First Tranche,




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  Defendants transferred funds from the 9959 Wallet to at least the following two additional wallets

  hosted and/or housed at Binance:




                                                   and




          68.      The aforesaid wallets are hereinafter referred to as the “9DE0 Wallet” and “963D

  Wallet”, respectively.

          69.      On or about July 7, 2023 (and after OKX took action against Defendants’ other

  wallets on the OKX Exchange), Defendants (i) admitted liability; (ii) agreed to and did return to

  Wattum $260,000.00. in cryptocurrency; and (iii) pledged to promptly return the remaining

  proceeds.

          70.      To date the remaining proceeds related to the First Tranche have not been returned.

  F.      DAMAGES

          71.      To date, Wattum has not recovered any of the funds transmitted pursuant to the

  Second, Third and Fourth Tranches and only partially recovered funds transmitted pursuant to the

  First Tranche.

          72.      To date, Wattum has been required to expend substantial fees, costs and expenses,

  including reasonable legal fees and fees paid to vendors to assist in Wattum’s investigation into

  Defendants’ fraudulent activities and secure the return of funds, money and property that

  Defendants’ unlawfully misappropriated.

          73.      To date, Wattum has been required to expend substantial legal fees on the defense

  of claims asserted by FAMCO arising from the alleged non-fulfilment of the FAMCO Order.




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          74.     To date, Wattum has suffered other losses including, without limitation, a loss to

  its business reputation and standing.

          75.     Wattum has also suffered a severe business disruption due to the time and effort it

  has been forced to expend in attempting to contact Defendants and investigating Defendants’ fraud

  and attempting to secure return of the funds, money and property that Defendants’ unlawfully

  misappropriated.

          76.     Wattum further has incurred lost profits as a result of Defendants’ fraudulent

  activity.

                               COUNT I – BREACH OF CONTRACT

          77.     Wattum reincorporates and realleges paragraphs 1-76 of this Complaint as if fully

  set forth herein.

          78.     On May 15, 2023, Wattum and Chengdu entered into the Purchase Agreement.

          79.     The Purchase Agreement is a valid and enforceable contract.

          80.     Pursuant to the Purchase Agreement, Chengdu agreed to sell the Units to Wattum

  and make the Units available for pickup.

          81.     To effectuate its purchase of the Units, Wattum paid Chengdu the purchase price

  of $904,000.00 in seven separate payments.

          82.     Chengdu is a merchant who deals in movable goods of the kind involved in this

  transaction – ASCI miners.

          83.     Chengdu materially breached the Purchase Agreement because it failed to make the

  Units available for pickup despite Wattum paying the full purchase price.

          84.     As a direct and proximate cause of Chengdu’s breach of contract, Wattum has been

  damaged as heretofore alleged.




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           WHEREFORE, Wattum demands judgment against Defendants for damages and such

  further relief as the Court deems proper.

                               COUNT II – UNJUST ENRICHMENT

           85.    Wattum reincorporates and realleges paragraphs 1-76 of this Complaint as if fully

  set forth herein.

           86.    Wattum conferred a benefit to Chengdu by, inter alia, delivering payments in the

  total amount of $904,000.00 in order to purchase the Units.

           87.    Chengdu voluntarily accepted and has retained the benefit conferred – the funds

  paid by Wattum that Chengdu has failed to return.

           88.    Chengdu’s unjust enrichment was at the expense of Wattum who paid the entire

  amount of the purchase price.

           89.    It would be inequitable to allow Chengdu to retain the funds without having to

  deliver the Units or make the Units available for pickup as outlined in the Purchase Agreement.

           WHEREFORE, Wattum demands judgment against Defendants for damages and such

  further relief as the Court deems proper.

                                        COUNT III - FRAUD

           90.    Wattum reincorporates and realleges paragraphs 1-76 of this Complaint as if fully

  set forth herein.

           91.    Defendants made intentionally false statements including, inter alia, their ability,

  intent and or willingness to deliver the Units despite knowing that they had no intent or ability to

  do so.

           92.    In fact, upon information and belief, Defendants operated a fraudulent enterprise

  intended to defraud Wattum of its funds.




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          93.     Defendants knew their representations were false when they made them and lacked

  any intention of actually making the Units available for Wattum.

          94.     Defendants made the false statements with the intent to induce Wattum into

  entering into the Purchase Agreement and accepted Wattum’s money or property without any

  intention to make the Units available for Wattum.

          95.     As a result, Wattum has been damaged in reliance upon the representations made

  by Defendants.

          WHEREFORE, Wattum demands judgment against Defendants for damages and such

  further relief as the Court deems proper.

                                   COUNT IV - CONVERSION

          96.     Wattum reincorporates and realleges paragraphs 1-76 of this Complaint as if fully

  set forth herein.

          97.     Wattum paid Chengdu a total of $904,000.00 for the purchase of the Units based

  upon Defendants’ representations.

          98.     Wattum has repeatedly demanded that Defendants return the money.

          99.     However, Defendants have yet to return the money with the exception of the

  $260,000.00 refund.

          100.    Further, Defendants have not delivered the Units or made the Units available for

  Wattum.

          101.    As a result, Defendants have converted Wattum’s funds.

          WHEREFORE, Wattum demands judgment against Defendants for damages and such

  further relief as the Court deems proper.




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                                       COUNT V – CIVIL THEFT

          102.    Wattum reincorporates and realleges paragraphs 1-76 of this Complaint as if fully

  set forth herein.

          103.    Defendants fraudulently entered into the Purchase Agreement with Wattum with

  no intent to fulfill their obligations.

          104.    Defendants engaged in a fraudulent scheme to induce Wattum to enter into the

  Purchase Agreement.

          105.    In doing so, Defendants acted with criminal, felonious intent in inducing Wattum

  to enter into the Purchase Agreement.

          106.    Pursuant to the Purchase Agreement, Defendants obtained Wattum’s property – the

  $940,000.00.

          107.    However, Defendants did not make the Units available to Wattum.

          108.    Defendants have stolen Wattum’s funds, which were entrusted to them by Wattum,

  for their own benefit.

          109.    Based upon the foregoing, Defendants stole, misappropriated, converted, and/or

  obtained by false pretenses, fraud, or deception Wattum’s funds, constituting a theft under Fla.

  Stat. § 812.014 because Defendants obtained or endeavored to obtain or use the funds, with the

  intent to deprive Wattum of a right thereto or benefit therefrom.

          110.    Wattum has been damaged as a result of Defendants’ fraudulent scheme.

          111.    A letter pursuant to Fla. Stat. § 772.11(a) is being sent to the Defendant

  concurrently with the Complaint.

          112.    Pursuant to Fla. Stat. § 772.11, Wattum is entitled to treble damages and an award

  of its attorney’s fees and costs.




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            WHEREFORE, Wattum demands judgment against Defendants for damages, including

  treble damages and attorneys’ fees pursuant to Fla. Stat. § 772.11, and such further relief as the

  Court deems proper.

        COUNT VI – TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS

            113.   Wattum reincorporates and realleges paragraphs 1-76 of this Complaint as if fully

  set forth herein.

            114.   Wattum had an existing business relationship with FAMCO. See, Exhibit “A”.

            115.   Defendants knew of this relationship and Wattum’s relationship with its existing

  customers and were aware that their conduct would interfere with Wattum’s rights under the

  contract.

            116.   Nevertheless, Defendants interfered with Wattum’s rights under the contract by,

  inter alia, stealing Wattum’s funds and not delivering the Units.

            117.   Defendants’ interference is without justification or privilege.

            118.   As a result of Defendants’ interference, Wattum has suffered damages as explained

  herein.

            WHEREFORE, Wattum demands judgment against Defendants for damages and such

  further relief as the Court deems proper.

         COUNT VII – TORTIOUS INTERFERENCE ADVANTAGEOUS BUSINESS
                                RELATIONSHIPS

            119.   Wattum reincorporates and realleges paragraphs 1-76 of this Complaint as if fully

  set forth herein..

            120.   Wattum had an existing business relationship with FAMCO. See, Exhibit “A”.

            121.   Defendants knew of this existing relationship between Wattum and FAMCO.




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            122.   Nevertheless, Defendants intentionally and unjustifiably interfered with the

  relationship by, inter alia, stealing Wattum’s funds and not delivering the Units.

            123.   As a result of Defendants’ interference, Wattum has suffered damages as explained

  herein.

            WHEREFORE, Wattum demands judgment against Defendants for damages and such

  further relief as the Court deems proper.

                                        RELIEF REQUESTED

            124.   By reason of the aforesaid, Wattum seeks the following:

                a. An Order that Defendants are liable to Wattum for actual, compensatory, treble

                   damages, and exemplary damages;

                b. An Order awarding Wattum judgment against Defendants in an amount to be

                   proven at trial;

                c. An Order compelling OKX to release the funds in its possession procured by

                   Defendants’ fraud;

                d. An Order awarding attorney’s fees, costs, and pre-judgment interest as permitted

                   by law;

                e. Such other provisional remedies including attachment as may be permitted under

                   applicable law and/or under Rule 64 of the Federal Rules of Civil Procedure; and

                f. Such other relief as may be deemed just and equitable.

                                           JURY DEMAND

            Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Wattum demands a trial

  by jury of all issues so triable.




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                                     Respectfully submitted,

                                     FOX ROTHSCHILD LLP


                                     By: /s/ Alex L. Braunstein___________
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                                                         VERIFICATION

                     IGOR KOVALYSHKIN, of full age, under oath, hereby declares as follows:

                     1.      I am a Chief Executive Officer of Wattum Management, Inc.

                     2.      I declare under the penalty of perjury that the facts set forth in this Verified

            Complaint are true and correct..



                                                                      IGOR KOVALYSHKIN
            Executed on March ___, 2024
                             03/18/24




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